     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 1 of 26



                          UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW HAMPSHIRE


ATTORNEYS LIABILITY                           )
PROTECTION SOCIETY, INC.,                     )
A Risk Retention Group,                       )
              Plaintiff                       )
                                              )
v.                                            )       Docket No. 1:11-cv-00563-JL
                                              )
WHITTINGTON LAW ASSOCIATES,                   )
PLLC; W.E. “NED” WHITTINGTON;                 )
LEDYARD NATIONAL BANK,                        )
            Defendants                        )


                     MEMORANDUM IN SUPPORT OF ALPS’S
                      MOTION FOR SUMMARY JUDGMENT

       This insurance-coverage case arises from a dispute between a bank and one of its

customers. Both the bank and the customer, New Hampshire lawyer Ned Whittington,

were tricked by an e-mail scammer who convinced Whittington to present a fraudulent

check to the bank, and then to instruct the bank to wire funds to the scammer’s account in

Japan. The bank and Whittington now disagree about which of them should be financially

responsible for the loss of the funds.

       Whittington seeks to have his lawyer’s professional liability insurance policy,

issued by plaintiff Attorneys’ Liability Protection Society (“ALPS”), provide coverage

for the loss. But as explained below, under the plain and unambiguous terms of the ALPS

policy, there is no coverage. The dispute with the bank does not involve anything

Whittington did or failed to do as a lawyer for any client—indeed, he never had a client.

For this reason alone, under the express terms of the policy, the dispute is not covered.

Further, the case arises from the scammer’s misappropriation of funds, and it involves a

claim by the bank for reimbursement of those funds; these two additional characteristics
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 2 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 2 of 26

likewise place the dispute outside the ALPS policy’s coverage.

        The essential facts material to the coverage issues are undisputed, and the policy

language is clear. Accordingly, ALPS is entitled to summary judgment, declaring that it

has no obligation to defend or indemnify Whittington in the dispute with the bank.

                                    Background Facts1

        1.     Whittington

        Ned Whittington has been practicing law for 36 years. Since 2002, he has had a

solo practice in Hanover, New Hampshire, under the name Whittington Law Associates

PLLC. He mainly handles civil litigation matters, and also does some intellectual-

property and other transactional work.2

        2.     The E-Mail Scam

        On Sunday, July 24, 2011, at 10:28 p.m., an internet scammer, posing as a

Virginia attorney named Richard Downey, sent Whittington an e-mail claiming that he,

“Downey,” wished to “send[] a client over for a business litigation matter.” The e-mailer

asked Whittington to “advise of your availability, and I will have my client contact you

directly.”3

        Whittington did not immediately respond to the message. The following night, at

2:58 a.m., the scammer sent an identical message, also purporting to be from Downey,



        1
         ALPS provides the following background facts before giving, at pp. 9 et seq.,
the concise statement of undisputed material facts required under Local Rule 7.2(b)(1).
       2
         Deposition of Whittington, Exhibit A hereto, at 7-20.
       3
         07/24/11 “Downey” E-Mail, Deposition Exhibit 1, filed herewith; and see
Exhibit A at 22-23. “Downey” added that he was “about to go into the Hospital for
Special Surgery for a full knee replacement on Wednesday July 27th, 2011,” and would
be “completely down for three weeks and extra one week [sic] of rehab”—and thus,
presumably, difficult for Whittington to contact by telephone. Deposition Exhibit 1.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 3 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 3 of 26

though with a different sender’s e-mail address.4 The next morning, Tuesday, July 26,

Whittington responded to the first of the two e-mails, saying that yes, he was available to

take on the proposed matter.5 On Wednesday, July 27, Whittington saw the second

“Downey” message, and re-sent his initial response.6 Neither the duplicate messages, nor

the awkward prose of “Downey”’s e-mails, caused Whittington to suspect anything

unusual.7

       The scammer, continuing to correspond with Whittington from two different e-

mail addresses (perhaps without realizing he was doing so), again sent two nearly

identical messages to Whittington, one on August 1, in which “Downey” introduced his

client contact as “Martin Joachim,” of a company called “Bendtsteel,” in Frederiksvaerk,

Denmark; and the other on August 4—from the other “Downey” e-mail address—

referencing the contact as “Albert Lund” of Bendtsteel.8 Whittington soon received a

message purporting to come directly from Mr. “Joachim,” who identified himself as

Bendtsteel’s “Director of International Marketing.”9

       “Joachim” e-mailed again on August 8 with more details about the supposed

collection matter for which Whittington was to be retained.10 He explained that

Bendtsteel was owed money “for goods supplied to Mill Steel Supply,” a Manchester,
       4
         07/26/11 “Downey” E-Mail, Deposition Exhibit 2.
       5
         07/26/11 Whittington E-Mail, Deposition Exhibit 3.
       6
         07/27/11 Whittington E-Mail, Deposition Exhibit 4.
       7
         See Exhibit A at 28-29.
       8
         08/01/11 “Downey” E-Mail, Deposition Exhibit 5; 08/04/11 “Downey” E-Mail,
Deposition Exhibit 6.
       9
         08/03/11 “Joachim” E-Mail, Deposition Exhibit 7. Two days later, Whittington
received an identical message from “Lund,” Bendtsteel’s “General Sales Manager.”
Deposition Exhibit 8. Again, Whittington found nothing suspicious in these duplicate
messages, and continued to respond that he was available and interested in assisting
Bendtsteel. See Deposition Exhibit 9.
       10
          08/08/11 “Joachim” E-Mail, Deposition Exhibit 10.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 4 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 4 of 26

New Hampshire company. The total contract price, “Joachim” explained, was $885,790,

and the “[d]ue date for payment was set for the 21st April, 2011 as stipulated in our sales

contract.” But “Mill Steel” had made only a partial payment, and an agreed-upon

extension had passed without delivery of the outstanding balance of over $500,000.

Nonetheless, “Joachim” wrote, “we have had a good relationship with our customer,” and

“we still want to maintain the relationship after collection of the funds owed to us.”11

“Our expectation of your services for now will be within the scenario of a phone call or

demand letter to our customer,” “Joachim” told Whittington. “When all available options

have been exhausted, litigation may be introduced as a last resort.”12

       Whittington asked his staff to run a conflicts check, and he himself did some

internet searching for information about Bendtsteel and Mill Steel Supply. He recalls

finding a website at “bendtsteel.com” which seemed to depict a legitimate Danish

company in the shipbuilding industry.13 In fact, however, the domain name

“bendtsteel.com” had been registered for the first time just weeks before, on July 18,

2011, by someone in Toronto, Canada. The account has since been suspended.14

       Whittington searched the on-line records of the New Hampshire Secretary of

State for information about Mill Steel Supply. The Secretary has no record of a current or

former company with that name, though it lists a “Mill Steel Corporation” with the same

Manchester address as the one given to Whittington by “Joachim.” The records indicate

that Mill Steel operates a “wholesale and retail distribution and manufacturing center for



       11
          Deposition Exhibit 10.
       12
          Deposition Exhibit 10.
       13
          Exhibit A at 34-35.
       14
          See Registration Details, Exhibit B hereto.
      Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 5 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 5 of 26

all types of steel and metal products.”15 After some further internet searching,

Whittington concluded that the discrepancy between the name provided by “Joachim”

and the name on record was probably a case of Mill Steel’s using multiple similar names.

He reported this to “Joachim” in an August 9 e-mail.16

       Whittington sent “Joachim” an engagement letter. The letter asked that Bendtsteel

wire Whittington a $2,000 retainer, which would have to be increased to $10,000 in the

event it was necessary to file suit against Mill Steel.17 No retainer was ever provided.

“Joachim” did, however, sign and returned the engagement letter, on August 16. He also

reported that, after having been “notified of our intention to retain legal services,” Mill

Steel had promised to make payment.18

       Whittington asked “Joachim” for a copy of Bendtsteel’s sales agreement, along

with “payment information, and any correspondence between the parties including the

lengthy negotiations which resulted in the extension.” Whittington also asked whether

Mill Steel was “merely a company in financial distress or do they have a claimed reason

for not paying the balance?”19

       “Joachim” responded to only one of these requests by Whittington: In an August

26 e-mail, “Joachim” sent a copy of the “sales agreement” between Bendtsteel and Mill

Steel.20 The three-page document described a sale from Bendtsteel to Mill Steel of

various raw materials and products described as “Automat System,” “Power Plants,” and
       15
            See Registration Details, Exhibit C hereto.
       16
            08/09/11 Whittington E-Mail, Deposition Exhibit 11; and see Exhibit A at 39-
42.
       17
         08/09/11 Engagement Letter, Deposition Exhibit 13.
       18
         08/16/11 “Joachim” E-Mail, Deposition Exhibit 12.
      19
         Deposition Exhibit 11.
      20
         08/26/11 “Joachim” E-Mail, Deposition Exhibit 14; “Sales Agreement,”
Deposition Exhibit 15.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 6 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 6 of 26

“Boiler Plants.”21 In some places, the document suggested that Bendtsteel had already

delivered the goods, which had been inspected and accepted by Mill Steel, and that

Bendtsteel had received full payment.22 But elsewhere the document said that Mill Steel

would at some time in the future “pick up the Goods from Seller’s location of

business”—in Denmark—and that payment would be due once the goods were

transferred for shipment.23 Whittington says that he scanned the agreement only briefly,

and was satisfied that it made sense for Bendtsteel, a Danish shipbuilding company, to be

selling materials and products of the sort described, to Mill Steel, a New Hampshire

metal manufacturer.24

       In his August 26 e-mail “Joachim” again reported that Mill Steel was eager to

resolve the matter: “We have been alerted by our debtor that they have made a part

payment to you/your firm to avoid litigation.”25 And indeed, on Wednesday, August 31,

Whittington received a UPS Express package containing a check payable to his firm. The

package’s return address identified the sender as “Kevin Saka” of “Exinus” in Niagara

Falls, Ontario—a detail Whittington failed to notice at the time. The check purported to

be an Official Check issued by CitiBank Investment Services, N.A. on behalf of Mill

Steel Supply, in the amount of $195,790. It was accompanied by a document entitled

“Invoice,” which itemized and gave unit prices for the materials and goods supposedly

sold by Bendtsteel to Mill Steel.26 Whittington again found nothing suspicious about this


       21
           See Deposition Exhibit 15, § 1.
       22
           See id., §§ 2, 8.
        23
           See id., §§ 2, 3, 4, 11.
        24
           See Exhibit A at 51-52.
        25
           Deposition Exhibit 14.
        26
           Contents of Package, Deposition Exhibit 16; see Invoice at p. W 49 (2,098
“Stainless steel” at $94 each; 1,000 “Structural steel” at $105.74 each; 228 “Power
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 7 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 7 of 26

document, though he did recognize that it was unusual for a buyer to issue an “invoice”

to a seller, as he commented in an e-mail to “Joachim.”27

       Whittington directed his bookkeeper to deposit the “Mill Steel” check in his

client-funds (IOLTA) account. Unbeknownst to Whittington, the bookkeeper failed to

deposit the check that day, August 31; she waited until she was on her way home from

work the following afternoon, Thursday, September 1, and then stopped at the Lyme,

New Hampshire branch of Ledyard Bank to make the deposit, shortly after 2:15 p.m.28

       By this time, Whittington had been instructed by “Joachim”, in an e-mail at 1:05

p.m. on Thursday, to “please ask your bank to transfer by swift to our creditor MS CAR

FACTORY COMPANY LTD in CHIBA-KEN, JAPAN the sum of $188,978.00.”29

Whittington says that he found nothing unusual in this request, assuming that an

international company such as Bendtsteel might well have such a creditor in Japan.30 He

promptly contacted the bank, but was told that it would be impossible to wire funds until

the following day, Friday, September 2.31 Nonetheless, Whittington asked the bank to

complete the necessary wire-transfer request form, and went in person to the bank’s

Hanover branch, across the street from his office, to sign the form, at some point during

the afternoon of September 1.32


Plants” at $550 each; 596 “Boiler Plants” at $320 each; 100 “Flat Carbon Steel and Long
steel” at $616.50 each).
        27
           08/31/11 Whittington E-Mail, Deposition Exhibit 17; and see Exhibit A at 54-
56.
        28
           Exhibit A at 58-59, 62, 86-87; Deposit Slip, Deposition Exhibit 21.
        29
           09/01/11 “Joachim” E-Mail, Deposition Exhibit 19.
        30
           See Exhibit A at 57.
        31
           09/01/11 Whittington E-Mail, Deposition Exhibit 20.
        32
           Request for Foreign Wire Transfer, Deposition Exhibit 22; Exhibit A at 60-62.
Whittington says that before he signed the wire request form, he asked the bank’s
representatives—Gail Trottier and Linda Brown—to assure him that the check he had
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 8 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 8 of 26

       Ledyard attempted to make the requested wire transfer to Japan on Friday,

September 2, as promised, but the bank made an error in one of the necessary account

numbers. On Tuesday morning, September 6—after the long Labor Day weekend—

Whittington received an e-mail from “Joachim” reporting that the wire had not gone

through.33 The error was discovered and corrected, and the wire was completed by the

afternoon of September 6.34 Several hours later, at 7:00 p.m., Ledyard received

notification by fax that CitiBank was unable to locate the account identified on the check

Whittington had deposited.35 The next morning, Ledyard notified Whittington of the

problem.36

       The bank attempted to recall the wire transfer, but without success. Subsequent

investigation confirmed that the check was fraudulent. “Downey,” “Joachim,” and

“Lund” all proved to be fake identities. Whittington and Ledyard discovered that they had

been the victims of a common e-mail fraud scheme, one that has been a subject of

attention and publicity by, for example, the FBI-sponsored Internet Crime Complaint

Center, and authorities in New Hampshire and other states.37

       Ledyard debited the full amount of the wire transfer against the IOLTA account

into which Whittington’s bookkeeper had deposited the fraudulent check; the account had

previously had a balance of approximately $19,000. The bank then filed suit against

asked his bookkeeper to deposit was “good.” According to Whittington, Trottier and
Brown responded with an unequivocal “yes”—despite the fact that the check had only
been deposited that same afternoon, and at a different branch. Exhibit A at 83-88.
       33
          09/06/11 “Joachim” E-Mail, Deposition Exhibit 27.
       34
          09/06/11 Gail Trottier E-Mail, Deposition Exhibit 28.
       35
          Large-Dollar Return Notification, Deposition Exhibit 29.
       36
          09/07/11 Trottier E-Mail, Deposition Exhibit 30.
       37
          See Deposition Exhibits 31, 32 (statements by Whittington about scam). And
see 07/15/10 NH Attorney General Alert, Exhibit D hereto; 03/12/12 Internet Crime
Complaint Center Press Release, Exhibit E hereto.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 9 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 9 of 26

Whittington in New Hampshire state court on or about November 7, 2011, to recover the

remainder of the lost funds.38

                          Concise Statement of Material Facts

                                 A. Ledyard’s Complaint

       1.      Count I of the bank’s complaint is captioned “Breach of Contract.” The

gist of this claim is that Ledyard’s relationship with Whittington was governed by a

written Deposit Account Agreement, under the terms of which, where a depositor

presents a check to the bank, as Whittington did in this case; where the depositor then, on

the basis of having deposited the check, seeks to withdraw funds from the bank, as

Whittington did in requesting the wire transfer to Japan; and where the bank permits the

withdrawal and then later learns that the deposited check was invalid, as happened here,

the bank has the right to recover from the depositor—here Whittington and/or his firm—

the amount withdrawn.39

       2.      In Count II, entitled “Breach of Uniform Commercial Code Transfer

Warranties Pursuant to RSA 382-A,” the bank claims that when Whittington and his firm

presented and deposited the check, they impliedly “warranted that they were entitled to

enforce the instrument; that the instrument was authentic and authorized; and that the

instrument had not been altered.” Ledyard contends that under the UCC, the bank’s wire

delivery of funds to Japan was “provisional” and subject to Ledyard’s right to recover the

withdrawn funds from Whittington and his firm.40




       38
          Ledyard Complaint, Deposition Exhibit 33.
       39
          Id., ¶¶ 19-22.
       40
          Id., ¶¶ 23-27 (citing N.H.R.S.A. 382-A:3-416, 4-201, 4-207, 4-210 and 4-214).
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 10 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 10 of 26

       3.         In Counts III and IV of Ledyard’s complaint, the bank claims that

Whittington acted negligently in failing to heed the suspicious circumstances surrounding

the delivery of the check to him, and the request for transfer of funds to Japan, and that

Whittington’s negligence caused harm to the bank.41

                                      B. The ALPS Policy

       4.         Whittington has sought coverage for Ledyard’s action under his 2011

professional liability insurance policy issued by ALPS (Policy No. 7704-8; “the ALPS

policy” or “the Policy”). The Policy provides, in relevant part, that under certain

conditions ALPS will pay on behalf of an insured “sums... that the Insured becomes

legally obligated to pay as damages.”42 The “damages” must, however, arise from “an

act, error or omission in professional services that were or should have been rendered by

the Insured.”43

       5.         “Professional services” is defined by the Policy, in relevant part, as

“services or activities performed for others as an attorney in an attorney-client

relationship on behalf of one or more clients.”44 As a related matter, the Policy further

provides that it does not apply to any claim arising from or in connection with “any

obligation assumed by contract, other than an obligation to perform professional

services.”45




       41
           Id., ¶¶ 28-38.
       42
           Policy, Exhibit F hereto, ¶ 1.1. ALPS has “the right and the duty to defend” a
claim that is covered under the Policy, but no such right or duty with respect to a non-
covered claim. Id., ¶ 1.2.1.
        43
           Id., ¶ 1.1.1.
        44
           Id., ¶ 2.22.1.
        45
           Id., ¶ 3.1.14.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 11 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 11 of 26

        6.         Further, as noted, the Policy only provides coverage for claims of

“damages.” The definition of “damages” in the Policy specifically does not include

“restitution, reduction, disgorgement or set-off” of any “funds or property presently or

formerly held by an Insured.”46

        7.         The Policy provides that it “does not apply to any claim arising from or in

connection with... [a]ny conversion [or] misappropriation... by any person of client or

trust account funds or property, or funds or property of any other person held or

controlled by an Insured in any capacity or under any authority.”47

        8.         The Policy also elsewhere specifically excludes “any claim that seeks,

whether directly or indirectly, the return, reimbursement or disgorgement of... funds or

property held by an Insured.”48

                                Present Status of Ledyard Suit

        Ledyard’s suit against Whittington has been stayed pending the outcome of this

coverage matter. Before the stay, in a January 24, 2012 decision, a state court judge

granted a motion by Whittington seeking to dissolve pre-judgment attachments against

his personal assets, while leaving in place (with his consent) attachments against his law

firm’s assets.49

        The court found no reasonable likelihood that Ledyard would be able to establish

any of its claims against Whittington personally. Ledyard had been unable to produce a

signed copy of the Deposit Account Agreement on which Count I was based; further, the


        46
           Id., ¶ 2.6.
        47
           Id., ¶ 3.1.13.
        48
           Id., ¶ 3.1.15.
        49
           State Court Decision, Deposition Exhibit 34.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 12 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 12 of 26

court concluded, Whittington likely signed the agreement as agent for his firm, not in his

personal capacity.50 Counts III and IV were deficient, in the court’s view, in that there

was clearly never an attorney-client relationship between Whittington and the bank, and

thus no duty owed to protect the bank’s interests. Further, Ledyard had failed to offer the

expert testimony that would be necessary to support any claim that Whittington violated

an applicable standard of care. Indeed, for these same reasons, the court appeared to

believe that of the claims against the law firm, only the claim for breach of the U.C.C.

presentment warranties was viable.51

                                         Argument

I.     Background Principles

       The governing law in this diversity case is that of New Hampshire, the state

where Whittington’s practice is based and thus “the principal location of the insured

risk.”52 Under New Hampshire law, as in other jurisdictions, interpretation of the

language of an insurance policy is a matter of law for decision by a court.53 Insurance

policies are subject to the same general rules of construction and interpretation as apply

to other contracts.54 The court takes the plain and ordinary meaning of the policy’s words



       50
           Id. at 2-3.
       51
           Id. at 3-7.
        52
           E.g., Marston v. U.S. Fid. & Guar. Co., 135 N.H. 706, 711 (1992).
        53
           E.g., Preferred Nat. Ins. Co. v. Docusource, Inc., 149 N.H. 759 (2003).
        54
           See Tech-Built 153, Inc. v. Virginia Sur. Co., Inc., 153 N.H. 371, 373 (2006)
(“The fundamental goal of interpreting an insurance policy, as in all contracts, is to carry
out the intent of the contracting parties” (citing Coakley v. Maine Bonding & Cas. Co.,
136 N.H. 402, 409 (1992))); Energynorth Natural Gas, Inc. v. Cont'l Ins. Co., 146 N.H.
156, 159 (2001) (“We generally construe an insurance policy as we do any other
contract.”); Windham Envtl. Corp. v. U.S. Fid. & Guar. Co., 2008 WL 4534086 (D.N.H.
Sept. 29, 2008) (“Under New Hampshire law an insurance contract is to be construed like
any contract.”).
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 13 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 13 of 26

in context, and construes the words objectively, as would a reasonable person in the

position of the insured, reading the policy as a whole and in more than a casual manner.55

          An insurance company is, like any other contracting party, free to limit its liability

through clear and unambiguous policy language.56 Where the meaning of a policy is

unambiguous, a court’s obligation is to enforce the policy as written, according to its

natural and ordinary meaning. “[A]bsent ambiguity, our search for the parties’ intent is

limited to the words of the policy.”57 Thus, when dealing with an unambiguous policy

provision a court need not be concerned with what an insured might have “expected” his

policy to cover. Similarly, if there is no ambiguity, then the rule that ambiguous terms

will be construed against the insurer as the drafter of the policy has no bearing on the

case.58

          Further, an ambiguity in policy language does not arise simply because the

insured disagrees with the insurer about the meaning or application of a provision.

Rather, as with other contracts, the provision must on its face be objectively susceptible

to two different and equally plausible meanings.59 A court cannot “create an ambiguity...


          55
           E.g., Preferred Nat. Ins. Co. v. Docusource, Inc., 149 N.H. at 763.
          56
           Id.
        57
           Colony Ins. Co. v. Dover Indoor Climbing Gym, 158 N.H. 628, 630 (2009)
(citations omitted).
        58
           Niedzielski v. St. Paul Fire & Marine Ins. Co., 134 N.H. 141 (1991); Colony
Ins. Co. v. Dover Indoor Climbing Gym, 158 N.H. at 630-31 (“Where, however, the
policy language is clear, this court “will not perform amazing feats of linguistic
gymnastics to find a purported ambiguity” simply to construe the policy against the
insurer and create coverage where it is clear that none was intended.” (quoting Hudson v.
Farm Family Mut. Ins. Co., 142 N.H. 144, 147 (1997))); Funai v. Metro. Prop. & Cas.
Co., 145 N.H. 642, 644 (2000) (“While we construe insurance policies in favor of the
insured when the policy is ambiguous, we will not force an ambiguity simply to resolve it
against an insurance company.”).
        59
           Whitcomb v. Peerless Ins. Co., 141 N.H. 149, 151 (1996); Energynorth Natural
Gas, Inc. v. Cont'l Ins. Co., supra, 146 N.H. at 159 (policy language is ambiguous only
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 14 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 14 of 26

in order to resolve it against the insurer,” or “to create coverage where it is clear that none

was intended.”60

       An insurer’s duty to defend its insured in a lawsuit such as the bank’s against

Whittington is determined by examining the complaint to see whether any claim—that is,

any claim supported by sufficient factual allegations—would fall within the coverage

afforded by the policy. The “legal nomenclature the plaintiff uses to frame the suit is

relatively unimportant” to the coverage determination, which must “avoid permitting the

pleading strategies, whims and vagaries of third-party claimants to control the rights of

parties to an insurance contract.”61 Where a court determines that a claim by a plaintiff

“arise[s] entirely out of an act that would not be covered under an insurance policy,” then

it follows that a different legal claim based on the same predicate act “is not one that

would be covered under the policy either.”62

       Finally, because the duty to defend is broader than the duty to indemnify, if a

court concludes that an insurer has no duty to defend because the claims fall outside the

policy’s coverage, then by definition there can be no duty to indemnify.63




where “the language of the policy reasonably may be interpreted more than one way”
(quoting High Country Associates v. New Hampshire Ins. Co., 139 N.H. 39, 41 (1994))).
        60
           Niedzielski v. St. Paul Fire & Marine Ins. Co., 134 N.H. at 147.
        61
           Insight Technology, Inc. v. Wausau Bus. Ins. Co., 2005 WL 3466644, *4
(D.N.H.) (quoting Titan Holdings Syndicate, Inc. v. City of Keene, 898 F.2d 265, 271 (1st
Cir. 1990) (applying New Hampshire law)); Ross v. Home Ins. Co., 146 N.H. 468, 471
(2001) (quoting M. Mooney Corp. v. U.S. Fidelity & Guaranty Co., 136 N.H. 463, 469
(1992)).
        62
           Ross v. The Home Ins. Co., 146 N.H. at 472. Accord, Preferred National Ins.
Co. v. Docusearch, Inc., 149 N.H. 759 (2003).
        63
           Ross v. Home Ins. Co., 146 N.H. at 473; Winnacunnet Co-op. Sch. Dist. v. Nat'l
Union Fire Ins. Co. of Pittsburgh, Pa., 84 F.3d 32, 36 (1st Cir. 1996) (applying New
Hampshire law).
      Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 15 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 15 of 26


II.     Ledyard’s lawsuit does not arise from any act, error, or omission by
        Whittington in performing professional services as an attorney for a client

        Under the “professional services” requirement of the ALPS policy, and the related

policy provisions also quoted above, a covered claim against an insured attorney must

involve [1] “an act, error or omission” by the insured [2] in services “that were or should

have been rendered” [3] “for others as an attorney” [4] “in an attorney-client

relationship” [5] “on behalf of one or more clients; and the claim cannot involve [6] an

“obligation assumed by contract, other than an obligation to perform professional

services.”64

        Ledyard’s claims against Whittington do not meet these requirements for

coverage. To begin with, Whittington simply did not have an attorney-client relationship

with any actual client, as the Policy requires. The story that someone named “Martin

Joachim” was a representative of a company called “Bendtsteel,” and that Bendtsteel

wished to retain Whittington to assist with a collection dispute with “Mill Steel,” proved

to be a tissue of pure fiction, and a pretext for a scam. In the absence of an actual existing

client and an actual attorney-client relationship, the ALPS policy does not apply.

        Second, it is clear that Ledyard’s claims in no way “arise from or in connection

with” any act, error or omission in Whittington’s performance of, or failure to perform,

any services as an attorney. The acts of Whittington from which the bank’s claims arise

are the presentment and deposit of the “Mill Steel” check, and the arranging of the wire

transfer to Japan. Nothing in the bank’s complaint against Whittington suggests that he

failed to properly perform his job as lawyer for his putative client “Bendsteel.” Rather,


        64
             Exhibit F, ¶¶ 1.1.1, 2.22.1, 3.1.14.
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 16 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 16 of 26

the lawsuit arises from the commercial relationship between Whittington and Ledyard as

customer and bank; from the legal obligations to a bank assertedly owed by any

depositor, whether lawyer or layperson, when depositing and seeking to draw against a

check; and from Ledyard’s and Whittington’s joint involvement as victims in a

confidence-scam, variations of which regularly ensnare non-lawyers and lawyers alike.

       Several other courts have persuasively held, in cases very similar to this one, that

disputes between banks and lawyers who fell prey to such e-mail scams are not covered

under lawyers’ professional liability policies—and not covered for exactly the reason just

articulated: that the claims do not arise from the lawyer’s performance of professional

services as an attorney.

       Most notably, a South Carolina federal district court reached this conclusion in a

nearly identical check-scam case, involving another ALPS-insured attorney and the exact

policy language at issue here. The court concluded that the ALPS policy’s “professional

services” language is unambiguous, and plainly requires that in the matter for which

coverage is sought, there must have in fact existed “one or more clients,” and “an

attorney-client relationship.”65

       In the South Carolina case, as here, the lawyer’s putative client was a fiction

created by an e-mail scammer; the scammer himself obviously never had any intention of

retaining the lawyer or forming an attorney-client relationship. Given the clear absence of

any actual client or attorney-client relationship, the South Carolina court held that, as a

matter of law, the ALPS policy provided no coverage for the lawyer against a claim by




       65
            Bradford & Bradford, P.A. v. ALPS, 2010 WL 4225907 (D.S.C.)
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 17 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 17 of 26

his bank to recover fraudulently-obtained funds.66 As the court observed, this result is

consistent with the fundamental purpose of a lawyer’s professional liability policy, which

is “to protect the insured as to claims based on acts or omissions by the insured acting as

an attorney for a client, not from scams perpetrated by persons pretending to be clients to

defraud the insured.”67

        Similarly, in Fleet Nat’l Bank v. Wolsky,68 a Massachusetts lawyer sought

coverage under his professional liability policy after he fell for an e-mail scam nearly

identical to the one in this case, and was sued by his bank. The lawyer’s insurer, which

was named as a third-party defendant after it denied coverage, argued at summary

judgment that the bank’s claims against the lawyer did not involve his acts or omissions

in rendering or failing to render “legal services,” the term used in that insurer’s policy.

The court agreed, holding that the conduct by the lawyer at issue—“the receipt,

indorsement, and deposit of a check, and the distribution of funds”—could not be

considered legal (or “professional”) services. These terms, the court reasoned, must be

understood to refer only to services that specifically “require a lawyer’s specialized

knowledge, labor, or skill.” Here, by contrast, the attorney “was merely an essential pawn

in an elaborate fraudulent check scheme, a role which did not call upon his professional

skills but rather required [the lawyer’s] blind trust to act as a facilitator to convert a check

to cash.” Therefore, the policy provided no coverage as a matter of law.69

        A Georgia court reached the same conclusion in Fidelity Bank v. Stapleton.70 A


        66
           Id. at *5.
        67
           Id. at *6 n.10.
        68
           Case No. 04-CV-5075 (Mass.Super.Ct. Dec. 6, 2006), Exhibit G hereto.
        69
           Id. at 6.
        70
           Case No. 07A-11482-2 (Ga.Super.Ct. Jan. 14, 2009); Exhibit H hereto.
     Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 18 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 18 of 26

lawyer succumbed to the same e-mail scam, deposited a check for $198,000 in his

IOLTA account, and then wired funds overseas, leading to a suit by his bank after the

original check was dishonored. Granting the insurer’s motion for summary judgment on

the coverage issue, the court held that the bank’s claim against the lawyer did not arise

from his “professional services,” as the policy required.71

        While no New Hampshire court has yet had occasion to address either the specific

scope of “professional services” under the ALPS Policy or a dispute over coverage in an

e-mail-scam case, there are instructive New Hampshire decisions applying “professional

services” policy provisions in other contexts.

        As the New Hampshire courts have emphasized, “the question of professional

liability coverage is determined not by the professional status of the actor, but by the

nature of the tortious act” or other conduct by the defendant lawyer that gives rise to the

claim.72 The claim must involve services by the insured that are particular to his

profession, and involve the “specialized knowledge” and “predominantly mental or

intellectual” skills particular to that profession.73

        As another judge of this District Court observed at the outset of a decision

construing the phrase “only while performing legal services” in a credit-union bond, “the

term ‘legal services’ cannot be construed to cover anything and everything a retained

attorney might do. If the term were so defined, the limitation ‘only while performing

legal services’ would impose no limitation at all.”74 The court found the “plain meaning”


        71
         Id. at 4-5.
        72
         Niedzielski v. St. Paul Fire & Marine Ins. Co., 134 N.H. at 144.
      73
         Niedzielski, id.
      74
         Northeast Credit Union v. CUMIS Ins. Soc., Inc., 2010 WL 2108296 *3
(D.N.H. 2010) (McAuliffe, C.J.).
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 19 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 19 of 26

of the term “legal services” to be “services that require legal training or experience, and

in most cases, licensure.”75 This definition clearly excluded, the court found, services as

an escrow agent, even in a case where such services are performed by an attorney and

governed by the rules of professional conduct applicable to lawyers.76

       Likewise, under New Hampshire law there must be more than a mere connection-

in-fact between the insured’s professional activities and the events giving rise to the

claim in order for professional-liability coverage to apply. In Ross v. The Home Ins.

Co.,77 the state Supreme Court upheld a summary-judgment ruling that a lawyer’s

professional liability insurance policy provided no coverage for claims of breach of

fiduciary duty and negligent hiring and supervision against the lawyer, where those

claims arose from a law firm employee’s having summoned a client to the office after

hours to sign some papers, and then having raped her in the firm’s offices.

       The Supreme Court agreed with the motion judge that the circumstances of the

crime—the fact that it occurred in the lawyer’s office, that it involved a firm employee

and a client, and that the victim was lured to the office on the pretext of signing papers

related to the lawyer’s professional services—did not establish the required connection,


       75
           Id.
       76
           Id. at *3-4. Cf. Merchants Mut. Ins. Co. v. City of Concord, 117 N.H. 482
(1977) (in case involving suicide of jail inmate, insured’s alleged negligent failure to seek
appropriate medical and psychiatric assistance for inmate involved “professional
services” within the meaning of policy, whereas alleged negligent decisionmaking about
whether to inform court about the inmate’s behavior, and about what supervision to
provide—decisions that called upon “no special skills or training” on insured’s part—did
not arise from any “professional services”). A policy may, of course, be issued to cover
more than one “profession.” See, e.g., Weeks v. St. Paul Fire & Marine Ins. Co., 140
N.H. 641 (1996) (policy issued to nursing home, providing coverage for “professional
services,” without further definition or limitation, would not be limited to covering only
medical professional services).
        77
           Ross v. Home Ins. Co., 146 N.H. 468 (2001).
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 20 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 20 of 26

for purposes of potential professional-liability coverage, between the claims against the

lawyer and his “rendering or failing to render professional services for others as a

lawyer.”78 Nor was the necessary connection supplied by the victim’s claims that the

lawyer negligently hired and supervised the employee; matters such as “the personnel

decisions of a law firm,” the Supreme Court observed, “are relative and incidental to the

business aspects of the firm, not its professional services.”79

       In the present case, the acts of Whittington from which the bank’s claims arise—

again, presenting and depositing the “Mill Steel” check and ordering the wire transfer to

Japan—were not acts that in any way involved the “specialized knowledge,” and

“predominantly mental or intellectual” skills particular to the legal profession. They were

not acts that required or involved legal training or experience, much less licensure. As

with the escrow-agent services at issue in Northeast Credit Union, the fact that such

activities can be and commonly are performed by lawyers, and the fact that in performing

the services (and utilizing his client-funds account) Whittington was governed by the

rules of professional conduct, does not transform the actions into professional legal

services. Nor, as Ross makes clear, is the result altered by the fact that the pretext of legal

services was used by the third-party perpetrator as the vehicle for carrying out the crime.

       Thus, based on the clear language of the ALPS policy, the decisions of the South

Carolina, Georgia and Massachusetts courts in similar e-mail-scam cases, and the

decisions of the New Hampshire courts interpreting analogous “professional services”
       78
           Similarly, in an earlier case, Niedzielski v. St. Paul Fire & Marine Ins. Co.,
supra, the Court held that a claim against a dentist for sexual assault did not arise from
his professional services for coverage purposes, even where the assault involved a patient
and occurred in the professional’s office during the actual performance of professional
work.
        79
           146 N.H. at 472-73.
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 21 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 21 of 26

provisions, ALPS is not obliged to defend or indemnify Whittington with respect to the

bank’s efforts to recover the stolen funds.

       To be sure, courts in two other jurisdictions, applying policies issued by insurers

other than ALPS with materially different terms, have held that coverage was available to

lawyers involved in e-mail scams. But as explained below, the key provisions of the

policies at issue in those cases were in marked contrast to those of the ALPS policy. Even

leaving aside the clear inconsistency in reasoning between these decisions and the New

Hampshire cases treating “professional services” policy limitations, as just described, the

differences in policy language alone make the cases readily distinguishable.

       In the Eleventh Circuit case Nardella Chong, P.A. v. Medmarc Cas. Ins. Co., the

relevant policy defined “professional services” more broadly than does the ALPS policy:

the term was defined to include any “services typically and customarily performed by an

attorney.”80 The definition did not require, as the ALPS policy does, that the services

from which the claim arises have been performed “as an attorney” and “in an attorney-

client relationship” and “on behalf of one or more clients.” Nor did any principle of

(Florida) state law require the court to consider whether the lawyer’s conduct in

depositing the fraudulent check and arranging for the transfer of funds involved the

“specialized knowledge,” and “predominantly mental or intellectual” skills, or training or

experience of, the legal profession. Unlike in Northeast Credit Union and the other cases

cited above, it was enough for the court in Nardella Chong that the insured had the status

of a lawyer, and engaged in activities that, as a matter of custom and practice, lawyers

often perform.


       80
            642 F.3d 941, 942 (11th Cir. 2011).
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 22 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 22 of 26

       Similarly, in the New York case Lombardi, Walsh, et al. v. American Guar. &

Liab. Ins. Co., the policy was written to cover services “performed by an Insured as a

licensed lawyer in good standing” and services “ordinarily performed as a lawyer.” The

New York court expressly noted that under this language the services need not have been

performed for a client. Thus, in the court’s view, it was sufficient for coverage purposes

that “someone”—the imposter pretending to be a prospective client—purported to

request the insured law firm’s services, and that the firm “was under the impression that

it was legitimately retained and attempted to perform services as attorneys.” “Regardless

of whether the imposter qualified as a ‘client,’” the court wrote, “the policy does not

require an actual ‘client’; the policy only requires that [the lawyer] ‘render Legal Services

for others,’ and the imposter fell within that broad category.”81

       Here, again and by contrast, the ALPS policy expressly requires not only the

performance of services “as an attorney,” but also the existence of an actual “client” and

an actual “attorney-client relationship,” neither of which were present. Thus, like

Nardella Chong, the Lombardi decision can and should be distinguished not only based

on the court’s taking a view of what constitutes “professional” services that is much

broader than that of the New Hampshire courts, but also based on these key differences in

policy terms.

       And the policy-language distinctions go still further. As noted above, the ALPS

policy also specifically provides that there is no coverage for any claim that arises out of


       81
         Lombardi, Walsh, et al. Wakeman, Harrison, Amodeo & Davenport, P.C. v.
American Guar. & Liab. Ins. Co., 85 A.D.2d 1291 (N.Y. App. Div. 2011) (emphasis
added). This decision was followed as “binding” authority by the trial court in Yudin &
Yudin, PLLC v. Liberty International Underwriters, Inc., 2012 WL 170978 (N.Y.Sup.Ct.
2012).
       Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 23 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 23 of 26

or in connection with “any obligation assumed by contract, other than an obligation to

perform professional services”82—a limitation nowhere evident in the discussion of the

policies in Nardella Chong or Lombardi. Ledyard’s complaint against Whittington is

expressly based upon obligations Whittington’s law firm allegedly undertook pursuant to

contract—specifically, pursuant to the Deposit Account Agreement, which is obviously

not in any respect a contract for professional services.83 The contractual basis for the

bank’s claims against Whittington and the ALPS’s policy’s clear exclusion of contract-

based claims provides an additional distinction from the New York and Eleventh Circuit

cases, and an additional reason why there can be no coverage here.

III.     Ledyard’s claim arises from a misappropriation of funds, further barring
         coverage

         The ALPS Policy separately provides that it “does not apply to any claim arising

from or in connection with... [a]ny conversion [or] misappropriation... by any person of

client or trust account funds or property, or funds or property of any other person held or

controlled by an Insured in any capacity or under any authority.”84 Once again, from the

discussion in the cases, neither the policy in the Nardella Chong matter nor that in

         82
           Exhibit F, ¶ 3.1.14.
         83
           Cf. Fidelity Bank v. Stapleton, cited above (agreeing with insurer that the
bank’s claims against the lawyer there arose from the lawyer’s contractual obligations to
the bank as a depositor, and thus were excluded from coverage for that reason as well).
        84
           Exhibit F, ¶ 3.1.13. Such “handling of funds” exclusions are not uncommon in
professional liability policies issued to professionals, including lawyers, and have
routinely been held unambiguous and fully enforceable. See, e.g., Global Title, LLC v. St.
Paul Fire & Marine Ins. Co., 788 F.Supp.2d 453 (E.D.Va. 2011); Chicago Title Ins. Co.
v. Northland Ins. Co., 31 So.3d 214 (Dist.Ct.App.Fl. 2010); Fokken v. Steichen, 744
N.W.2d 34 (Neb. 2008); Westport Ins. Corp. v. Hanft & Knight, P.C., 523 F.Supp.2d 444
(M.D.Pa. 2007); Fidel. Nat. Title Ins. Co. of N.Y. v. OHIC Ins. Co., 619 S.E.2d 704
(Ct.App.Ga. 2005); PNA, LLC v. Interstate Ins. Grp., 2003 WL 21488120 (E.D.La.
2003); Northland Ins. Co. v. Stewart Title Guar. Co., 327 F.3d 448 (6th Cir. 2003);
Bankers Mult. Line Ins. Co., Inc. v. Pierce, 20 F.Supp.2d 1004 (S.D.Miss. 1998).
      Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 24 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 24 of 26

Lombardi included any such exclusion.

        The Ledyard lawsuit clearly arises from (and/or in connection with) the

conversion and misappropriation of funds by the scammer posing as “Joachim.” The fact

that it was a third party who committed the misappropriation, and not Whittington

himself, has no effect on the applicability of the “handling of funds” exclusion, which

again makes clear that it applies to misappropriations by “any person.”85 Nor does it

matter for this purpose whether the funds misappropriated by “Joachim” are considered

to have come from Whittington’s IOLTA account (that is, in the language of the

exclusion, whether they were “client or trust account funds”), or whether they were funds

of the bank over which Whittington asserted “control” by directing the bank to wire the

funds. Because the bank’s claims arise from a misappropriation of the wired funds, the

“handling of funds” exclusion bars coverage as a matter of law.

IV.     The relief sought by the bank is restitution of the wired funds, not
        “damages” that would potentially be covered by the Policy

        Finally, the ALPS Policy provides coverage only for “sums... that the Insured

becomes legally obligated to pay as damages.” The definition of “damages” in the Policy

specifically does not include “restitution, reduction, disgorgement or set-off” of any

“funds or property presently or formerly held by an Insured.” The Policy also elsewhere

specifically excludes “any claim that seeks, whether directly or indirectly, the return,

reimbursement or disgorgement of... funds or property held by an Insured.”86

        Ledyard’s lawsuit seeks to have Whittington provide restitution and

        85
           Id. Cf., e.g., Chicago Title Ins. Co. v. Northland Ins. Co., 31 So.3d 214, 216 n.2
(fact that third party rather than insured committed the misappropriation “is of no
significance” under language of “handling of funds” exclusion).
        86
           Exhibit F, ¶¶ 1.1.1, 2.6.
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 25 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 25 of 26

reimbursement of funds of the bank over which, again, Whittington exercised control—

that is, “held”—when he presented the “Mill Steel Supply” check and instructed the bank

to wire the funds on his behalf. As noted, one of the bank’s key claims—indeed, the only

claim on which the state court considered that the bank had a chance of success—was the

claim based on the Whittington firm’s presentment warranties under the U.C.C. The

U.C.C. provisions on which the bank relies expressly characterize the rights granted to a

bank as the right to “charge back the amount of any credit given... to its customer’s

account, or obtain refund from its customer....”87 That is, the bank’s U.C.C. claim is by its

nature one for return, reimbursement, or disgorgement of funds obtained and used by the

insured, not for “damages” within the meaning of the Policy. For this additional reason,

there can be no coverage.

                                        Conclusion

       ALPS has no duty under Whittington’s lawyer’s professional liability policy to

provide him with either a defense or indemnity in his dispute with his bank over the loss

of the funds transferred in the “Bendtsteel” e-mail scam. Because the language of the

ALPS policy is unambiguous in this regard, and the material facts are undisputed, the

Court should enter summary judgment declaring that ALPS has no such obligation.

Summary judgment should also be entered dismissing Whittington’s counterclaims

against ALPS.




       87
           N.H.R.S.A. 382-A:4-214, cited in Ledyard’s Complaint, Deposition Exhibit
34, at ¶ 39.
    Case 1:11-cv-00563-JL Document 18-1 Filed 08/31/12 Page 26 of 26
ALPS v. Whittington
Memo in Support of ALPS’s Motion for Summary Judgment
Page 26 of 26

Dated: August 31, 2012

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                                   Certificate of Service

        I hereby certify that on the above date I filed this document via the Court’s ECF
system, and that I am relying on that system to effect service on counsel for the other
parties, all of whom are registered participants.



                                       /s/ William L. Boesch



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